                      IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF IOWA
                              CEDAR RAPIDS DIVISION


TRACEY K. KUEHL, et al.,                             )
                                                     )
                     Plaintiffs,                     ) Case No. C14-02034-JSS
       v.                                            )
                                                     )
                                                       Certificate of Service
PAMELA SELLNER, et al.,                              )
                                                     )
                     Defendants.                     )
                                                     )
                                                     )

                                   CERTIFICATE OF SERVICE

       I, Jessica L. Blome, hereby certify that I filed the following documents in the Court’s

Electronic Case Filing System (ECF) this 1st day of June, 2015, which were then served upon all

counsel of record:

      Plaintiffs’ Motion for Summary Judgment,

      Plaintiffs’ Brief in Support of Their Motion for Summary Judgment,

      Plaintiffs’ Statement of Uncontroverted and Material Facts,

      Plaintiffs’ Proposed Order,

      Plaintiffs’ Appendix and accompanying Exhibits 1 through 10,

      The Declarations of Stephen Wells, Tracey Kuehl, Lisa Kuehl, John Braumann, Kristine

       Bell, and Nancy Harvey,

      The Affidavits of David Allen, Peter Klopfer, Jennifer Conrad, and Jessica Blome, and

      The Parties Joint Motion for Overlength.

   Date: June 1, 2015                        /s Jessica L. Blome
                                                     Jessica L. Blome




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